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EXHIBIT D
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HENRY PORD HOSPITAL

Natalie Reeser Missed Pay Period Chronology
Claim # 1776067 .
March 20, 2614

On January 20, 2014, Ms, Natalie Reeser placed Henry Ford Hospital Human Resouress on
notice that she was normally tie sole employee assigned to service enstomers/patients at cur
Clinton Vownship Clinic, Ms, Reese informed me that her narmal schedule Monday —
Thursday was a 9.5 hour shift to allow for the 30 minute unpaid lunch break and dherefore paid
for 9 hours per day, Wis, Reeser stated that she was required {o sorvive cuslomer/patients al any
time during her shift and thus was not allotted the 36 minuce lunch break.

The Gepartmental leadership was contacted at which point i was jearned that the 30 minute
hine) pavied was indead not heing paid gs that there were numerous days when Ms, Reeserhad
very few customers/patlonts to service, The departmental leadership was intermed that despite
the “idle time”, Ma, Reeser was required lo 6c at her workplace for the entire shift to service any
ensiomers/putients that arrived and was being “engaged to wait”, lhos, enlithug her to payment
for these periods.

At this poini, a review commenced to determine ihe agiount owed 10 Ms, Reeser, The following
information was gathered for a time period of 2 years back From the day in which Ms. Reeser
placed Henry Hord Hospital! on notice:
® Time curds submitted by Ms, Reeser
© Payroll records fron Heb 20, 2012 to the Maren 4, 2014 fend date of investigation):
o To identify the number of hours worked cach day to detennine whieh days were
Ciigible for the paid 30 minute period (8 hours or greater of work time)
o To identily the momber of haus worked cach work so avertue could be properly
aggessed
= Compensation reports from Feb 20, 2012 to March 4, 2614 fend date of investigation):
. & To onsure the corrsel honcly rate was assessed for each time period, as a meri?
increase aceureed durkig this 2 year look- back.
e Schedules from Feb 20, 2012 to Merch 4, 2014 (end date of investigation}:
o To identity which dates there was more then [ person assigned to werk at the site
(as Ms. Reeser isdoamed mie that when there were 2 people assigned, she was
allotted thy 30 invimete Iuacl period)

Summary of findings:

Ai was Geternined thar _Ms. Reeser was oved a iotal of 276 missed fuuch breaks (at 30 minuias
each). Attached you will find the "Pay Adjustment detafis” (Aliachments #1 — #45 which breaks
down ths lofal amount awed fo Ms, Roceer Ineluding the munter of days pall at the
yepularfovertime rate aud the pay tale used for dhese culedations, Also attached is rhe
compensation histery (attachments #9 and # 10) showing Ms, Reeser's rates of pay dachidiyig the

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offsetive dates of said rales,

The review was finalized on March 4, 2014 and Ms. Reeser was conlacted cegarding the pending
paytnenl. (See attachment #5), The cheek wns issued on March 4, 2974 and was direet deposited
ila Ms. Reeser’s bank account ou March 7, 2014. (Plogse sea attachment f6 - #8).

This net paynrent of 82469.67 (gross amomt of $3572.52} made Ms. Reeser whole for ai] uaprid
lich payments, Copies of the documents reviewed for this 2+ year period (ime cards, payroll,
compensation records ang scheduies) can cerlainiy be provided if required, Adlached is also a
copy ol the Hemy Ford Health System Break Period Policy. (See attachment #9)

Tf you haye any questions or eoucems about the above/atrached information or if you would Eke
additionad information please contact me at the helow number.

_ Respecifally submilted,

he € taf

Jil B, Hood, PHR, MSCI

Senior J3usiness Partucr

Human Resources and Volunteer Services
Henry Ford Hospital

313-375-0742

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